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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

PRIME HYDRATION LLC,                           §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §           Civil Action No. 3:24-CV-1260-L
                                               §
RYAN GARCIA,                                   §
                                               §
       Defendant.                              §

                         MEMORANDUM OPINION AND ORDER

       Before the court is Defendant Ryan Garcia’s (“Defendant” or “Mr. Garcia”) Motion to

Dismiss and Brief in Support (“Motion to Dismiss”) (Doc. 10), filed on August 26, 2024; Plaintiff

Prime Hydration LLC’s (“Plaintiff” or “Prime”) Response in Opposition to Motion to Dismiss

Brief in Support (“Response”) (Doc. 14), filed on September 16, 2024; and Defendant’s Reply

Brief in Support of His Motion to Dismiss (“Reply”) (Doc. 15), filed on September 30, 2024.

Having considered Defendant’s Motion to Dismiss, the pleadings, record, and applicable law, the

court, for the reasons herein stated, grants in part and denies in part Defendant’s Motion to

Dismiss.

I.     Background

       On July 1, 2023, Prime Hydration LLC filed its Original Complaint for (1) Defamation;

(2) Trade Libel; (3) Violations of [the] Lanham Act; (4) Unfair Competition; and (5) Unjust

Enrichment (“Complaint”) (Doc. 1), pursuant 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

Plaintiff filed this action against Defendant and requests that the court grant relief for (1)

defamation, (2) trade libel and business disparagement, (3) violation of the Lanham Act, (4)

common law unfair competition, and (5) unjust enrichment. Doc. 1.


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       Prime is a Delaware Limited Liability Corporation with a principal place of business in

Louisville, Kentucky, that develops hydration and energy drinks and hydration sticks. Doc. 1 at 3.

Mr. Garcia is an American boxer from California. Def.’s Mot. to Dismiss 3. Prime and Mr. Garcia

were once “on good terms,” but have since separated. Doc. 1 at 1. Mr. Garcia has made several

comments online through various social media platforms. See generally, Doc. 1.

II.    Legal Standards

       Rule 8(a)(2) of the Federal Rules of Civil Procedure requires a pleading to contain “a short

and plain statement of the claim showing that the pleader is entitled to relief.” Rule 8 only requires

“notice” pleading. Accordingly, it is not necessary that the pleader set forth each and every element

or factual allegation of a claim. The “short and plain statement,” however, must contain sufficient

allegations of fact “that will give the defendant fair notice of what the plaintiff’s claim is and the

grounds upon which it rests.” Leatherman v. Tarrant Cnty. Narcotics Intel. & Coordination Unit,

507 U.S. 163, 168 (1993) (internal quotation marks and citation omitted). A pleading must set

forth “enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). A claim meets the plausibility test when a plaintiff pleads

sufficient factual content that permits the court to make the reasonable inference that a defendant

is liable for the alleged misconduct. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       To defeat a motion to dismiss filed pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, a plaintiff must plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); Reliable Consultants, Inc. v.

Earle, 517 F.3d 738, 742 (5th Cir. 2008); Guidry v. American Pub. Life Ins. Co., 512 F.3d 177,

180 (5th Cir. 2007). A claim meets the plausibility test “when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct



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alleged. The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (internal citations omitted). While a complaint need not contain detailed factual

allegations, it must set forth “more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Twombly, 550 U.S. at 555 (citation omitted). The

“[f]actual allegations of [a complaint] must be enough to raise a right to relief above the speculative

level . . . on the assumption that all the allegations in the complaint are true (even if doubtful in

fact).” Id. (quotation marks, citations, and footnote omitted). When the allegations of the pleading

do not allow the court to infer more than the mere possibility of wrongdoing, they fall short of

showing that the pleader is entitled to relief. Iqbal, 556 U.S. at 679.

       In reviewing a Rule 12(b)(6) motion, the court must accept all well-pleaded facts in the

complaint as true and view them in the light most favorable to the plaintiff. Sonnier v. State Farm

Mut. Auto. Ins. Co., 509 F.3d 673, 675 (5th Cir. 2007); Martin K. Eby Constr. Co. v. Dallas Area

Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004); Baker v. Putnal, 75 F.3d 190, 196 (5th Cir.

1996). In ruling on such a motion, the court cannot look beyond the pleadings. Id.; Spivey v.

Robertson, 197 F.3d 772, 774 (5th Cir. 1999). The pleadings include the complaint and any

documents attached to it. Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir.

2000). Likewise, “‘[d]ocuments that a defendant attaches to a motion to dismiss are considered

part of the pleadings if they are referred to in the plaintiff’s complaint and are central to [the

plaintiff’s] claims.’” Id. (quoting Venture Assocs. Corp. v. Zenith Data Sys. Corp., 987 F.2d 429,

431 (7th Cir. 1993)). In this regard, a document that is part of the record but not referred to in a

plaintiff’s complaint and not attached to a motion to dismiss may not be considered by the court

in ruling on a 12(b)(6) motion. Gines v. D.R. Horton, Inc., 699 F.3d 812, 820 & n.9 (5th Cir. 2012)



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(citation omitted). Further, it is well-established and ‘“clearly proper in deciding a 12(b)(6) motion

[that a court may] take judicial notice of matters of public record.”’ Funk v. Stryker Corp., 631

F.3d 777, 783 (5th Cir. 2011) (quoting Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th Cir.

2007) (citing Cinel v. Connick, 15 F.3d 1338, 1343 n.6 (5th Cir. 1994)).

       The ultimate question in a Rule 12(b)(6) motion is whether the complaint states a valid

claim when it is viewed in the light most favorable to the plaintiff. Great Plains Trust Co. v.

Morgan Stanley Dean Witter, 313 F.3d 305, 312 (5th Cir. 2002). While well-pleaded facts of a

complaint are to be accepted as true, legal conclusions are not “entitled to the assumption of truth.”

Iqbal, 556 U.S. at 679 (citation omitted). Further, a court is not to strain to find inferences

favorable to the plaintiff and is not to accept conclusory allegations, unwarranted deductions, or

legal conclusions. R2 Invs. LDC v. Phillips, 401 F.3d 638, 642 (5th Cir. 2005) (citations omitted).

The court does not evaluate the plaintiff’s likelihood of success; instead, it only determines

whether the plaintiff has pleaded a legally cognizable claim. United States ex rel. Riley v. St.

Luke’s Episcopal Hosp., 355 F.3d 370, 376 (5th Cir. 2004).

       Stated another way:

               A motion to dismiss for failure to state a claim concerns the formal
       sufficiency of the statement of the claim for relief, not a lawsuit’s merits. So when
       reviewing such a motion, we assume that the facts the complaint alleges are true
       and view those facts in the light most favorable to the plaintiff. The complaint
       survives if it contains sufficient factual matter . . . to state a claim to relief that is
       plausible on its face.

Sewell v. Monroe City Sch. Bd., 974 F.3d 577, 582 (5th Cir. 2020) (citations and quotation marks

omitted). Accordingly, the denial of a 12(b)(6) motion has no bearing as to whether a plaintiff

ultimately establishes the necessary proof to prevail on a claim that withstands a 12(b)(6)

challenge.




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III.      Analysis

       A. Defamation

          Defendant contends that Prime fails to state a cause of action for defamation, and the court

should dismiss this claim with prejudice. Def.’s Mot. to Dismiss 5. Mr. Garcia contends that the

statements that Prime challenges are statements of opinion, not fact. Id. He contends that in

examining whether a statement is an opinion, courts follow a two-part test. Id. (citing Dallas

Morning News, Inc. v. Tatum, 554 S.W. 3d 614, 639 (Tex. 2018)). Mr. Garcia first contends that

the statements that Prime challenges are not verifiable facts and are nonactionable opinion

statements. Id. at 6. He contends that the statements “horrible chemicals; poison the kids; your kid

can be in danger; These are little kids really getting hurt; It’s going to kill your guy’s brains [and]

mess up your [sic] guy’s liver; that hurt you big time; and it’s killing you,” are all hyperbolic and

not objectively verifiable facts. Id. (citations and internal quotation marks omitted). Second, he

contends that these statements should be taken in their entire context because they were made on

social media in the midst of a yearslong public feud between Mr. Garcia and Logan Paul, and a

reasonable person would recognize the statements as opinion. Id. at 8. As a result, Mr. Garcia

contends that this alone is grounds for dismissal of the defamation claim. Id. at 9.

          Next, he contends that Prime does not sufficiently allege the requisite degree of fault, which

is actual malice, because of Prime’s status as a public figure. Id. at 11. Defendant contends that

based on the allegations contained in the Complaint, Prime is a public figure. Id. He contends that

to meet the standard, the court must consider (1) the notoriety of the corporation, (2) the nature of

the corporation’s business, and (3) the frequency and intensity of media scrutiny that the

corporation normally receives. Id. (citing Snead v. Redland Aggregates Ltd., 998 F.2d 1325, 1329

(5th Cir. 1993) (internal quotation marks omitted)). He contends that Prime alleges that it is a



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beloved world-renowned brand, one of the fastest-growing beverage brands in history, and touts

Logan Paul, a celebrity, as its owner and spokesperson. Id. (citations omitted). Moreover, Mr.

Garcia contends that Prime’s allegations, either alone or taken together, fail to meet the high

pleading standard of actual malice. Id. at 12. Defendant contends that the relevant state of mind is

whether it knew or had reason to believe the statement was false, not whether Defendant dislikes

Plaintiff, which it does not sufficiently allege. Id. at 13. Finally, because the alleged statements do

not constitute negligence per se, he contends that Prime does not sufficiently allege actual

damages, which it is required to do. Id. at 14 (citations omitted).

Plaintiff’s Response

       In Response, Prime contends that it sufficiently pleads its defamation claim against Mr.

Garcia. Pl.’s Resp. 5. It contends that the Complaint satisfies all of the elements necessary to

establish its claim. Id. at 6. First, Prime contends that the Complaint plausibly alleges that Mr.

Garcia published a multitude of verifiably false statements that defamed it. Id. Prime contends that

Defendant’s claims of testing positive for ostarine after drinking Prime, which is prohibited in the

professional boxing league he competes in, is enough by itself to satisfy the defamation standard.

Id. Further, it contends that Mr. Garcia “pays lip service” to the other 17 statements and fails to

explain why each of them is not verifiably false. Id. Plaintiff contends that whether Prime contains

“horrible chemicals,” “poison,” or “cyanide” are all things that can be objectively verified by

analyzing its ingredients. Id. It also contends that Prime beverage’s impact on children and whether

it causes seizure, puts them in danger, causes them to get hurt, etc., are all capable of verification

through medical analysis. Id. at 7 (citations and quotation marks omitted). Likewise, it contends

that the crimes Mr. Garcia accuses Prime’s personnel of committing, including human trafficking,




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tying children up, rape, burning children, and its personnel worshipping the devil, are all verifiable

if they were true. Id. (citations and quotation marks omitted).

        Next, Plaintiff contends that Mr. Garcia’s knowingly false statements are not protected

opinion. Id. at 8. It contends that his statements meet none of the standards for opinion, and

dismissing defamation claims at the pleadings stage based on opinion requires a finding that no

reasonable person could conclude that the statements express or imply a verifiably false fact. Id.

(citing US Dominion, Inc. v. Powell, 554 F. Supp. 3d 42, 57-58 (D.D.C. 2021) (quotation marks

omitted)). It contends that it “easily” satisfies this standard at this stage. Id. Further, it contends

that Mr. Garcia’s representations that he has proof via undisclosed facts confirm that his statements

are not merely unverifiable opinions but rather verifiable facts. Id. at 8-9 (citing Doc. 1, ¶¶ 32, 36,

39). Moreover, it contends that these assertions of proof make it possible for a reasonable person

to examine the basis for the alleged statements, taking them out of the realm of non-actionable

opinion. Id. at 9 (citation omitted).

        Further, it contends that Defendant’s accusations about committing heinous sex crimes also

take his statements outside of opinion. Id. (citation omitted). It also contends that the court should

not permit Mr. Garcia to transform his verifiably false statements into opinion merely because he

couched false statements as hyperbole. Id. Moreover, Prime contends that even if Defendant’s

statements reflect his opinions, they are actionable because he bases them on incorrect, incomplete,

or erroneous facts that he knows are false. Id. at 10 (citations and quotation marks omitted). Prime

rejects Defendant’s allegations that because he published his statements on the Internet, there is

no expectation of accuracy, and the culture of the Internet excuses his defamation, and he points

to no authority for this proposition. Id. (quotation marks omitted).




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       Next, it contends Mr. Garcia’s arguments that “some of his videos might have opinions”

do not move any of the 18 defamatory statements within the category of opinion. Id. Prime

contends that where opinion and verifiable false statements are intertwined, the false statements

still constitute defamation. Id. at 10-11 (citing Scripps NP Operating, LLC v. Carter, 567 S.W. 3d

1, 20-21 (Tex. App.—Corpus Christi-Edinburg 2016), aff’d, 573 S.W. 3d 781 (Tex. 2019) (even

when “certain parts of [an article] may be fairly characterized as opinions,” a defamation claim

will still lie where “those opinions were supplemental to the underlying factual allegations”);

Turner v. KTRK Television, Inc., 38 S.W. 3d 103, 115 (Tex. 2000) (“a plaintiff can bring a claim

for defamation when discrete facts, literally or substantially true, are published in such a way that

they create a substantially false and defamatory impression by omitting material facts or

juxtaposing facts in a misleading way”)). Further, Prime contends that it pleads the requisite level

of fault, and Defendant’s claim that it is a public figure should be rejected. Id. at 11 (citation

omitted). It contends that even if it is a public figure for these purposes, which it does not concede,

the Complaint sufficiently pleads actual malice. Id.

       It contends that the Fifth Circuit imposes a low bar for pleading actual malice. Id. (citations

omitted). Further, it contends that Mr. Garcia’s injurious motive is a factor for malice despite his

“baseless” assertions otherwise. Id. at 12 (citation omitted). Plaintiff contends that Defendant’s

dislike of it and some of its founders is relevant to malice because it drives his disregard for the

truth given his publicly state goal to destroy Prime. Id. at 12 (citations omitted). Finally, Prime

contends that it does not need to but does sufficiently plead damages. Id. It contends that

Defendant ignores the issue of defamation per se. Id. Prime contends that because he disparaged

its goods through his lies in a “manner that implies that the manufacturer or vendor is dishonest,

fraudulent, or incompetent,” all 18 of his statements are defamation per se. Id. (citations omitted).



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It contends that it does plead special damages, alleging that his lies caused it to “(1) lose millions

in sales, (2) lose enterprise value, incur significant reputational harm, and suffer damage to its

brand and goodwill, and (3) incur costs to correct the record.” Id. at 13 (citations omitted).

       In Reply, Defendant maintains that the defamation claim should be dismissed because

Prime’s opposition does nothing to overcome its failure to allege that he made a defamatory

assertion of fact about the company and its products. Def.’s Reply 1. He contends that a reasonable

reader would recognize the challenged statements as opinions. Id. Thus, this court should dismiss

this defamation claim. Id. He contends that the statements are opinion and not fact. Id. Mr. Garcia

contends that the statements made on social media in the midst of a yearslong public feud between

Logan Paul and Mr. Garcia are neither objectively verifiable nor understood to convey verifiable

facts. Id. (citations omitted). First, he contends that the challenged statement “[Mr. Garcia] has

‘real proof’ of Prime hydration drinks causing seizures in children, based on ‘a lot of nurses,’”

does not suggest that the other challenged statements are based on undisclosed facts. Id. (citations

omitted). He contends that because Prime alleges that his proof from nurses is fabricated, a

reasonable person would not interpret these statements to be based on undisclosed facts. Id. at 1-2

(citations omitted).

       Further, he contends that the statements relating to Prime’s alleged criminal activities are

hyperbolic, and a reasonable person would not conclude that they are accusations with truth value.

Id. at 2 (citations omitted). Defendant contends that Prime conflates opinion, falsity, and actual

malice, but despite this, it does not sufficiently meet the actual malice standard. Id. (citations

omitted). Further, he contends that the statements, when taken as a whole, are opinions. Id. at 3.

He contends that even if the statements are factual, they are not false, and Prime cannot sufficiently

plead facts to support the falsity element for each challenged statement. Id. Moreover, he contends



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that Prime does not sufficiently allege actual malice and that it does not sufficiently allege actual

damages. Id. at 3-4.

Plaintiff Sufficiently Alleges a Claim for Defamation Per Se.

       To bring a claim for defamation under Texas law, the plaintiff must establish the following

elements: (1) publication of a false statement of fact to a third party, (2) the statement must concern

the plaintiff and be defamatory, (3) the publication must be made with the requisite degree of fault,

and (4) the publication must cause damages. Walker v. Beaumont Indep. Sch. Dist., 938 F.3d 724,

743 (5th Cir. 2019) (citing In re Lipsky, 460 S.W. 3d 579, 593 (Tex. 2015)). The status of the

person allegedly defamed determines the requisite degree of fault. A private individual need only

prove negligence, whereas a public figure or official must prove actual malice. See Lipsky, 460

S.W. 3d at 593.“In a defamation suit against a media defendant over a matter of public concern,

the plaintiff bears the burden of proving falsity.” Walker, 938 F.3d at 743. Further, in determining

whether a statement is false in Texas, the court must apply the substantial truth doctrine, which

precludes a plaintiff from recovery when a “publication . . . correctly conveys a story’s ‘gist’ or

‘sting’ although erring in the details.” Id. (citing Turner v. KTRK Television, Inc., 38 S.W. 3d 103,

115 (Tex. 2000)).

       First, the court must determine whether Prime is a public or private figure corporation. In

making this determination, the court may consider (1) the notoriety of the corporation to the

average individual in the relevant geographical area; (2) the nature of the corporation’s business,

such as whether it is a consumer goods maker or a consumer services corporation; and (3) the

frequency and intensity of media scrutiny the corporation receives typically. Snead v. Redland

Aggregates Ltd. 998 F.2d 1325, 1329 (5th Cir. 1993).




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       Applying the first Snead factor, the corporation’s notoriety to the average individual in the

relevant geographical area, Plaintiff alleged in its Complaint that Prime is a beloved world-

renowned brand and one of the fastest-growing beverage brands in history. Doc. 1 at 1. Second,

regarding the nature of the corporation’s business, Prime makes and markets consumer products

to the general public. Id. Third, the frequency and intensity of media scrutiny Prime typically

receives. In its Complaint, it contends that it is world-renowned, and Mr. Garcia criticizes its

products to at least 20 million people. The court determines that Mr. Garcia criticizing Prime to an

audience of 20 million people on multiple occasions is sufficient to demonstrate the frequency of

criticism. While these factors are not determinative, the court can conclude, based on the facts

alleged, that Prime is a public figure corporation; therefore, the burden necessary to sufficiently

allege defamation is actual malice.

       Actual malice does not mean bad motive or ill will; instead, it means that the statement

was made with knowledge of its falsity or with reckless disregard for its truth. Walker, 938 F.3d

at 744 (citations omitted). As a result, the court must look at Mr. Garcia’s attitude toward the truth

and not his attitude toward Prime. Id. (citation omitted). To establish reckless disregard, Defendant

must have entertained serious doubts about the truth of his published statements. Huckabee v. Time

Warner Entm’t Co., 19 S.W. 3d 413, 420 (Tex. 2000). Thus, to defeat the Motion to Dismiss,

Prime needs to establish that at least one of the statements made by Mr. Garcia was made at a time

when he entertained serious doubts as to the truth of the statement.

       Prime contends that Mr. Garcia made at least 18 distinct, knowingly false claims:

       Category 1: False statements about Prime’s product ingredients:
       Statement 1 Prime’s hydration products contain “horrible chemicals[.]” (Id. ¶¶ 3,
       29, 33.) Statement 2 Prime’s hydration products contain “poison[.]” (Id. ¶¶ 3, 29.)
       Prime’s hydration products contain “cyanide.” (Id. ¶¶ 3, 29.)
       Statement 4 Garcia “tested positive for ostarine” because he “drank [P]rime[.]” (Id.
       ¶ 30.)


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           Category 2: False statements about Prime’s products’ effects on children:
           Statement 5 Prime’s hydration drink causes “seizures” in kids, based on “real
           proof” in Garcia’s possession, which he did not disclose. (Id. ¶¶ 3, 31, 32, 39.)
           Statement 6 Prime puts kids “in danger if they keep drinking” it. (Id. ¶ 31; see also
           id. ¶ 3.) Statement 7 “[L]ittle kids” who drink Prime are “really getting hurt[.]” (Id.
           ¶ 31; see also id. ¶ 3.) Statement 8 “[A] lot of nurses are hitting me up, speaking to
           me, saying that they have seen firsthand what this drink does to kids.” (Id. ¶ 32; see
           also id. ¶ 39.)
           Category 3: False statements about Prime’s products’ effects on everyone:
           Statement 9 Prime’s hydration drinks “are gonna kill your guys’s brains[.]” (Id. ¶
           33.)
           Statement 10 Prime’s hydration drinks will “mess up your guys’s liver[.]” (Id. ¶
           33.)
           Statement 11 Prime’s hydration drinks will “hurt you big time[.]” (Id. ¶ 33.)
           Statement 12 Prime’s hydration drinks are “killing you.” (Id. ¶ 33.)
           Category 4: False statements about Prime’s personnel:
           Statement 13 Prime’s team is operating a “human trafficking” ring. (Id. ¶¶ 4, 34.)
           Statement 14 Prime’s team “tied [children] up[.]” (Id. ¶ 35.)
           Statement 15 Prime’s team “raped” “children[.]” (Id. ¶ 35.)
           Statement 16 Prime’s team “burned them,” referring to children. (Id. ¶ 35.)
           Statement 17 Prime’s team are “devil worshipers[.]” (Id. ¶ 35.)
           Statement 18 Prime’s team “work” with Satan. (Id. ¶ 35; see also id. ¶ 4.)

Pl.’s Resp. 3.

           Plaintiff fails to allege specific facts to determine that Defendant knew the statement was

false. See generally Docs. 1 and 14. Despite Plaintiff’s contention that the courts in the Fifth Circuit

impose a low bar for pleading actual malice, the cases it cites are not binding on this court, nor do

they help Plaintiff meet its burden. Pl.’s Resp. 11 (citations omitted). Further, Plaintiff rests its

argument largely on its contention that injurious motive is a factor for malice and Mr. Garcia’s

statements are injurious, which is enough. Id. (citing Bentley v. Bunton, 94 S.W. 3d 561, 584 (Tex.

2002)).

           It also contends that when determining malice, courts are permitted to look at the following

factors:

           •   “[I]nherently improbable assertions and statements made on information that is
               obviously dubious.” Bentley, 94 S.W. 3d at 596; accord St. Amant v. Thompson,



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           390 U.S. 727, 733 (1968). “Reliance on a questionable source[.]” Pep v.
           Newsweek, Inc., 553 F. Supp. 1000, 1003 (S.D.N.Y. 1983).
       •   “[A]bsence of any factual basis.” Curran v. Philadelphia Newspapers, Inc., 546
           A.2d 639, 642 (Pa. Super. 1988). “Purposeful avoidance of the truth[.]” Bentley,
           94 S.W. 3d at 596.
       •   Making statements relating to a pre-conceived “story line.” See, e.g., Gertz v.
           Robert Welch, Inc., 680 F.2d 527, 539 (7th Cir. 1982).
       •   Lack of expertise in the subject matter coupled with strong statements. See, e.g.,
           Curtis Publ’g Co. v. Butts, 388 U.S. 130, 158 (1967).

Id. The court disagrees.

       The allegations are insufficient for Plaintiff to establish actual malice, however, the court

determines that these allegations are sufficient to establish a claim for defamation per se.

       In a claim for defamation per se, “[t]he words are so obviously hurtful that they require no

proof that they caused injury in order for them to be actionable.” Fiber Sys. Int’l., Inc. v. Roehrs,

470 F.3d 1150, 1161 (5th Cir. 2006) (citing Moore v. Waldrop, 166 S.W. 3d 380, 384 (Tex. App.—

Waco 2005, no pet.) (internal quotation marks omitted)). Defamation is “delineated”

into defamation per se and defamation per quod. Hancock, 400 S.W.3d at 63. A false statement

will typically be classified as defamatory per se if it tends to injure “a person in [his] office,

profession, or occupation.” Bedford v. Spassoff, 520 S.W.3d 901, 905 (Tex. 2017) (citation and

internal quotation marks omitted). “For example, accusing someone of a crime, of having a foul

or loathsome disease, or of engaging in serious sexual misconduct constitutes defamation per se.”

Dallas Morning News, Inc., 554 S.W.2d at 638 (cleaned up). Whether statements are defamatory

per se is a matter of law to be decided by the court. Id. (citing Tex. Disposal Sys. Landfill, Inc. v.

Waste Mgmt. Holdings, Inc., 219 S.W. 3d 563, 580 (Tex. App.—Austin 2007, pet.

denied)). Defamation per quod is defamation that is not actionable per se. Hancock, 400 S.W. 3d

at 64. Statements that are defamatory per quod are actionable only upon allegation and proof of

damages. Tex. Disposal Sys. Landfill, Inc., 219 S.W.3d at 580.



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       The alleged statements in category four regarding Prime’s personnel are statements about

criminal activity and sexual misconduct. Pl.’s Resp. 3. At this phase of litigation, these statements

alone are sufficient to maintain Prime’s claim for defamation. The court determines that Prime has

sufficiently alleged facts necessary to establish a claim for defamation per se. Accordingly,

Defendant’s Motion to Dismiss Plaintiff’s Defamation claim is denied.

   B. Trade Libel and Business Disparagement

       Defendant contends that because Plaintiff’s business disparagement claim is no different

than its defamation claim, it should be dismissed, especially because it fails to allege special

damages. Def.’s Mot. to Dismiss 15 (citations omitted). Further, he contends that proof of special

damages is an essential part of this claim, and because Prime’s allegations are conclusory, it cannot

overcome this motion to dismiss. Id. at 15 (citation omitted). Mr. Garcia contends that Prime’s

allegations are threadbare and fall well short of the direct, pecuniary loss that Texas law requires

to demonstrate special damages. Id. He contends that Prime fails to allege specific lost sales

generally, “let alone specific lost sales” resulting from his statements. Id. at 15. As a result, Mr.

Garcia requests that the court dismiss this claim with prejudice.

Plaintiff’s Response

       In Response, Prime contends that its business disparagement claim survives. Pl.’s Resp.

13. It contends that to the extent that Mr. Garcia hangs his hat on the issue of damages, its

allegations are more than sufficient. Id. It contends that no direct evidence of pecuniary loss is

necessary at the motion to dismiss stage. Id. (citation omitted).

       In his Reply, he maintains his assertion that the business disparagement claim should be

dismissed because Prime does not sufficiently allege special damages. Def.’s Reply 5. Moreover,

he contends that Prime’s conclusory allegations do not meet the requisite pleading standard. Id.



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(citations omitted). He contends that Prime has alleged no facts from which the court can

reasonably infer his statements caused it to suffer a pecuniary loss, and this claim should be

dismissed. Id. at 5-6.

Plaintiff Does Not Sufficiently Allege a Claim for Business Disparagement.

       To defeat a motion to dismiss for a business disparagement claim, a plaintiff must set forth

allegations from which the court can reasonably infer that “(1) the defendant published false

and disparaging information about it, (2) with malice, (3) without privilege, (4) that resulted in

special damages to the plaintiff.” Forbes Inc. v. Granada Biosciences, Inc., 124 S.W. 3d 167, 170

(Tex. 2003) (citing Hurlbut v. Gulf Atl. Life Ins. Co., 749 S.W. 2d 762, 766 (Tex. 1987)). “To

prove special damages, a plaintiff must provide evidence of direct, pecuniary loss attributable to

the false communications of the defendants.” Id. (quoting Johnson v. Hosp. Corp. of Am., 95 F.3d

383, 391(5th Cir. 1996)); Hurlbut, 749 S.W. 2d at 767; Super Future Equities, Inc. v. Wells Fargo

Bank     Minn.,     N.A.,    553     F.    Supp.    2d     680,     692    (N.D.     Tex.     2008).

“[A] business disparagement defendant may be held liable ‘only if he knew of the falsity or acted

with reckless disregard concerning it, or if he acted with ill will or intended to interfere in the

economic interest of the plaintiff in an unprivileged fashion.’” Forbes Inc., 149 S.W. 2d at 170

(emphasis omitted) (quoting Hurlbut, 749 S.W. 2d at 766).

       At the pleadings stage, Prime must allege sufficient facts for the court to draw a reasonable

inference that it suffered special damages. In its Complaint, Prime contends that “Defendant’s

statements have, in fact, caused pecuniary loss to Prime’s business” and that his statements “have

hurt Prime’s sales and damaged the value of its business.” Doc. 1 ¶ 67. These statements alone are

insufficient for the court to reasonably infer that Prime suffered special damages as a result of Mr.

Garcia’s statements. Prime has not proved that the disparaging communication played a substantial



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part in inducing third parties not to deal with the plaintiff, resulting in a direct pecuniary loss that

has been realized or liquidated. See Encompass Off. Sols., Inc. v. Ingenix, Inc., 775 F. Supp. 2d

938, 959 (E.D. Tex. 2011). Because Prime has not plausibly alleged that Mr. Garcia published

false or disparaging information about it with malice or that it suffered special damages, his Motion

to Dismiss as it relates to Prime’s business disparagement claim is granted.

    C. Violation of the Lanham Act

        Defendant contends that Prime’s claims about the statements made on his personal social

media account are without merit. Def.’s Mot. to Dismiss 16. First, he contends that Prime’s

statements did not occur in commercial advertising. Id. at 17. Mr. Garcia contends that Prime did

not sufficiently meet any of the four elements necessary to establish that the challenged speech is

commercial advertising or promotion. Id. (citing Seven-Up Co. v. Coca-Cola Co., 86 F.3d 1379,

1384 (5th Cir. 1996) (citation omitted)). Mr. Garcia contends that Prime did not prove the first or

third elements, which are to show that the challenged communication is commercial speech and

for the purpose of influencing consumers to buy defendant’s goods or services. Id. He contends

that Prime’s allegation in the Complaint that he made statements “in an attempt to ‘boost

engagement with his online social media channels and further monetize his personal brand’ and

‘on information to belief, to sell tickets to his fights’ are tenuous at best . . .” Id. (citation omitted).

Moreover, he contends that there is no allegation that he attempted to influence customers to

purchase tickets to his fights rather than Prime’s drink products. Id. (citation omitted). Defendant

also contends that Prime does not and cannot satisfy the second element, that the statements were

made for the purpose of influencing consumers to buy the defendant’s goods or services because

he is not in commercial competition with Prime, and it has not alleged otherwise. Id. at 18.




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        Further, he contends that the statements are not false or misleading because they are non-

actionable opinions of his, and to the extent that they are factual statements, they are substantially

true. Id. Moreover, Mr. Garcia contends that Prime did not sufficiently allege that the statements

materially deceived Prime’s consumers or that the deception was material. Id. He contends that

the Complaint simply parrots the elements. Id. (citation omitted). Finally, he contends that Prime

does not sufficiently allege that the statements injured the company. Id. at 19 (citation omitted).

He contends that Prime’s allegation that his false and misleading statements damage its reputation

and harm the goodwill it has developed is contradicted by its allegation that “Prime is a beloved

world-renowned brand” and “Customers love Prime.” Id. (citations omitted). Accordingly, he

requests that the court dismiss this claim with prejudice.

        Prime contends that it has sufficiently pleaded the elements necessary to establish a

violation of the Lanham Act. Pl.’s Resp. 14. Prime contends that it has already addressed the issue

of falsity and injury. Id. It contends that it has sufficiently alleged that Mr. Garcia’s statements are

commercial advertising. Id. Prime also contends that it sufficiently alleges that Mr. Garcia’s

personal brand is a business and that he is promoting his forthcoming competing drink company.

Id. (citation omitted). Further, it contends that it sufficiently alleges that his statements materially

deceive consumers. Id. Prime contends that people are less likely to buy Prime because Defendant

scares them into thinking it is poison and its personnel are criminals, which is all that is required

at this stage of litigation. Id. at 14-15 (citing Time Warner Cable, Inc. v. DIRECTV, Inc., 497 F.3d

144, 153 (2d. Cir. 2007)). Moreover, it contends that Mr. Garcia does not offer a single legal

authority suggesting that an award of attorney’s fees can or should be based on a Rule 12(b)(6)

dismissal of a Lanham Act claim and if the court were to dismiss this claim, such an early dismissal

does not justify an award of attorney’s fees. Id. at 15 (citations omitted).



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       Defendant maintains that Prime’s attempt to remedy its federal false advertising claim is

devoid of both applicable case law and factual support. Def.’s Reply 6. He contends that courts

routinely dismiss Lanham Act claims when the court determines that the “challenged statements

are causing consumers to refrain from transacting business with the plaintiff, as opposed to

inducing them to purchase the defendant’s goods or services instead.” Id. (citations omitted).

Moreover, he contends that Prime does not sufficiently allege that the statements materially

deceived its customers. Id. at 7. Mr. Garcia contends that even if Prime does not need to allege

consumer deception, it still needs to allege materiality, which it fails to do. Id. (citations omitted).

Plaintiff Alleges Facts Sufficient to State a Claim under the Lanham Act.

       Section 43(a) of the Lanham Act provides:

       Any person who, on or in connection with any goods or services, or any container
       for goods, uses in commerce any . . . false or misleading description of fact, or false
       or misleading representation of fact, which . . . in commercial advertising or
       promotion, misrepresents the nature, characteristics, qualities, or geographic origin
       of his or her or another person’s goods, services, or commercial activities, shall be
       liable in a civil action by any person who believes that he or she is or is likely to be
       damaged by such act.

60 Stat. 441, 15 U.S.C. § 1125(a)(1)(B).

       To establish a prima facie case of false advertising under Section 43(a), the plaintiff must

set forth sufficient allegations to show that the defendant made (1) a false or misleading statement

of fact about a product; (2) the statement was deceptive; (3) the deception is material; (4) the

product is in interstate commerce; and (5) the plaintiff has been injured or is likely to be injured

as a result. Logan v. Burgers Ozark Country Cured Hams, Inc., 263 F.3d 447, 462 (5th Cir. 2001).

“The failure to prove the existence of any element of the prima facie case is fatal to the plaintiff’s

claim.” Pizza Hut, Inc. v. Papa John’s Int’l, Inc., 227 F.3d 489, 495 (5th Cir. 2000).




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        The allegations in the Complaint are sufficient to support this claim. Plaintiff has

sufficiently alleged that Defendant made false or misleading statements concerning the quality of

Prime’s drinks. It also has sufficiently alleged that Defendant made false or misleading statements

about Prime personnel engaging in criminal activities. Second, it has been sufficiently established

that some of the alleged statements are deceptive, including statements about Prime personnel

engaging in criminal activity. Third, Plaintiff has sufficiently alleged that the deception as to the

quality of the product is material in that it is likely to influence purchasing decisions. Fourth, there

appears to be no dispute that Prime’s products are in interstate dispute. Finally, it has been

sufficiently alleged that Mr. Garcia’s statements are likely to be injurious to Prime. Accordingly,

the Motion to Dismiss is denied as it relates to this claim.

    D. Common Law Unfair Competition

        Mr. Garcia contends that Plaintiff’s common law unfair competition claim should be

dismissed because it is wholly premised on its Lanham Act claim. Def.’s Mot. to Dismiss 19

(citation omitted). He contends that even if the unfair competition claim is premised on another

tort, those torts—and thus the unfair competition claim—are also subject to dismissal. Id. at 20

(citations omitted). Accordingly, he requests that the court dismiss this claim with prejudice.

Plaintiff’s Response

        In Response, Prime contends that dismissing this claim at this stage would be improper, as

it alleges multiple independent torts to support that claim, including violations of the Lanham Act

and business disparagement. Pl.’s Resp. 15 (citations omitted). Further, it contends that one of the

authorities that Mr. Garcia relies upon was decided after a jury verdict or after summary judgment

briefing. Id. (citations omitted).




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       In his Reply, Defendant maintains that because its unfair competition claim is premised on

its false advertising and business disparagement claims. Def.’s Reply 7.

       A common law unfair competition claim under Texas law is the same under federal law.

See Amazing Spaces, Inc. v. Metro Mini Storage, 608 F.3d 225, 236 n. 7 (5th Cir.2010) (“A[n] . .

. unfair competition action under Texas common law presents essentially ‘no difference in issues

than those under federal trademark infringement actions.’”).

       For the reasons stated in the court’s analysis of Prime’s Lanham Act claim, the court

determines that it has alleged facts sufficient to maintain a claim for common law unfair

competition. Accordingly, Defendant’s Motion to Dismiss, as it relates to this claim, is denied.

   E. Unjust Enrichment

       Mr. Garcia contends that the unjust enrichment claim fails. He contends that as a threshold

matter, unjust enrichment is not an independent cause of action under Texas law. Def.’s Mot. to

Dismiss 20 (citing Clapper v. Am. Realty Investors, Inc., 2019 WL 5865709, at *9 (N.D. Tex. Nov.

7, 2019) (Lindsay, J.) (“Texas law does not recognize an independent cause of action for unjust

enrichment.”); Chapman v. Commonwealth Land Title Ins. Co., 814 F. Supp. 2d 716, 725 (N.D.

Tex. 2011) (Lindsay, J.) (“Texas courts of appeals have consistently held that unjust enrichment

is not an independent cause of action but instead a theory upon which an action for restitution may

rest.” (citation omitted)); Hancock v. Chi. Title Ins. Co., 635 F. Supp. 2d 539, 561 (N.D. Tex.

2009) (“Texas law does not afford an independent cause of action for unjust enrichment.”)).

Further, Defendant contends that even if the claim were legally cognizable, Prime fails to allege

that it is entitled to restitution under an unjust enrichment theory of recovery because unjust

enrichment is limited to situations in which one person has obtained a benefit from another by

fraud, duress, or the taking of an undue advantage. Id. at 21 (citing Heldenfels Bros., Inc. v. City



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of Corpus Christi, 832 S.W. 2d 39, 41 (Tex. 1992) (quotation marks omitted). Moreover, Mr.

Garcia contends that Prime does not allege that he was unjustly enriched at Prime’s expense, nor

does it allege that there is an implied or quasi-contractual relationship in which he could have

received such undue benefit. Id.

Plaintiff’s Response

        In Response, Plaintiff contends that Texas state and federal courts have acknowledged

confusion about whether it is an independent cause of action, and this confusion has been

eliminated by more recent decisions. Pl.’s Resp. 16 (citing Elias v. Pilo, 781 F. App’x 336, 338

n. 3 (5th Cir. 2019)). It contends that the Fifth Circuit operates on the assumption that “unjust

enrichment is an independent cause of action under Texas law that allows recovery when one

person has obtained a benefit from another by fraud, duress, or taking an undue advantage.” Id.

(citing Elias, 781 F. App’x at 338).

        In Reply, Defendant contends that the court does not recognize unjust enrichment as an

independent cause of action under Texas law. Def.’s Reply 8 (citing DeWolff, Boberg & Assocs.

v. Pethick, 2022 WL 4589161, at *1 (N.D. Tex. Sept. 29, 2022) (Lindsay, J.); Clapper v. Am.

Realty Investors, Inc., 2019 WL 5865709, at *9 (N.D. Tex. Nov. 7, 2019) (Lindsay, J.)).

Plaintiff Does not Sufficiently Allege a Claim for Unjust Enrichment.

        Since the court last decided this issue, the Fifth Circuit has recognized unjust enrichment

as an independent claim. Courts of appeal appear to be split as to whether unjust enrichment is an

independent cause of action. Elias v. Pilo, 781 F. App’x 336, 338 n.3 (5th Cir. 2019) (and cases

cited therein). Despite this split and tension, the Fifth Circuit has held that “a party may still recover

under the unjust enrichment theory . . . as long as it proves that the opposing party obtained a

benefit . . . by fraud, duress, or the taking of an undue advantage.” Digital Drilling Data Sys.,


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L.L.C. v. Petrolink Servs., Inc., 965 F.3d 365, 380 n.11 (5th Cir. 2020) (internal quotation marks

and citation omitted)). Likewise, the court will not decide whether this theory is an independent

claim. Instead, it will treat it as a claim.

        Under Texas law, “[a] party may recover under the unjust enrichment theory when one

person has obtained a benefit from another by fraud, duress, or the taking of undue advantage.”

Heldenfels Bros. v. City of Corpus Christi, 832 S.W. 2d 39, 41 (Tex. 1992). “Unjust enrichment

occurs when someone has wrongfully secured a benefit or has passively received one which it

would be unconscionable to retain.” Texas Integrated Conveyor Systems, Inc. v. Innovative

Conveyor Concepts, 300 S.W. 3d 348, 367 (Tex. App.—Dallas 2009, pet. denied). A plaintiff does

not have a claim for unjust enrichment “merely because it might appear expedient or generally fair

that some recompense be afforded for an unfortunate loss to the claimant, or because the benefits

to the person sought to be charged amount to a windfall.” Heldenfels, 832 S.W. 2d at 40.

        Prime has failed to plead sufficient facts to establish a claim for unjust enrichment. Plaintiff

alleges in a conclusory fashion that “Defendant’s conduct is unjust, unfair, and inequitable,

resulting in his own enrichment and monetary gain at the expense of Prime.” Doc. 1 at 18. Prime

has not shown that Mr. Garcia has obtained a benefit from it by fraud, duress, or the taking of

undue advantage. The two parties do not appear to have an implied or quasi-contractual

relationship in which the court can determine that Mr. Garcia received such undue benefit.

Accordingly, the Motion to Dismiss is granted as it relates to Prime’s unjust enrichment claim.

    F. State Law Claims

        Finally, Mr. Garcia contends that the Texas Citizen Participation Act (“TCPA”) requires

the dismissal of claims I, II, IV, and V, the state law claims. Def.’s Mot. to Dismiss 21. He contends



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that the TCPA is an anti-strategic lawsuit against public participation (“SLAP”) statute designed

to encourage and safeguard the constitutional rights of persons to petition, speak freely, associate

freely, and otherwise participate in government to the maximum extent permitted by law. Id. at 21

(citing Tex. Civ. Prac. & Rem. Code § 27.002). Defendant contends that because the state law

claims are based on the exercise of his right of free speech, and Prime does not and cannot establish

clear and specific evidence of a prima facie case for those claims, the court should dismiss the

claims pursuant to the TCPA. Id. at 22.

       Further, he contends that the statements made on his personal social media accounts and a

third-party podcase are protected free speech. Id. Mr. Garcia contends that matters made in

connection with a matter of public concern are covered by the TCPA, and matters of public concern

include those regarding a public official, public figure, or celebrity. Id. (citation omitted). He

contends that, as set forth in the Complaint, the statements he made are matters of public concern,

which fall squarely within the TCPA’s protections for free speech. Id. (citations omitted).

Moreover, he contends that Prime does not meet its burden under the TCPA for its state law claims.

Id. Finally, he contends that Klocke v. Watson, 936 F.3d 240 (5th Cir. 2019), does not prohibit the

court from dismissing the state law claims pursuant to the TCPA. Id. at 23. He contends that even

if the Federal Rules and the TCPA were in conflict at the time of the Klocke decision, that is no

longer the case. Id. at 24 (citations omitted).

Plaintiff’s Response

       In Response, Prime contends that Mr. Garcia is inviting the court to ignore the Fifth

Circuit’s holding that the TCPA does not apply to diversity cases. Pl.’s Resp. 17 (citing Klocke,

936 F.3d at 245-46; Doc. 10 at 31-32). It contends that a district court in this circuit rejected Mr.

Garcia’s argument, in which the court held that the Texas Legislature did not amend the chapter



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in a way that cured the issues with the overlap between 12(b)(6) dismissals and TCPA dismissals.

Id. (citing Parker v. Spotify USA, Inc., 569 F. Supp. 3d 519, 538-539 (W.D. Tex. 2021)). Further,

it contends that even after the legislature changed this chapter, Defendant points to courts,

including this, one that have held that the TCPA does not apply in federal courts. Id. (citations

omitted). Prime contends that Mr. Garcia cites two decisions from the Ninth Circuit to argue that

the California Anti-SLAPP statute is enforced in federal courts, so the TCPA should also be

enforced. Id. at 18. It contends that ignoring those cases are not binding on this court. Id. (citations

omitted).

       In Defenant’s Reply, he contends that the TCPA requires dismissal of the state law claims.

Def.’s Reply 8. He contends that Prime has no clear and specific evidence to support claims it

cannot adequately plead. Id. at 9.

The TCPA Does Not Apply to This Action.

       The court disagrees with Defendant’s contention. This action is in the early stages of

litigation, and because the TCPA imposes additional requirements beyond Rule 12, the court

cannot dismiss the state claims because of the TCPA. Klocke, 936 F.3d at 245. In analyzing a

motion to dismiss pursuant to Rule 12, the court may dismiss a case for failure to state a claim if,

accepting all well-pleaded factual allegations as true, the complaint does not state a plausible claim

for relief. Iqbal, 556 U.S. at 678. The TCPA, however, requires that the court “determine ‘by a

preponderance of the evidence’ whether the action relates to a party’s exercise of First Amendment

rights.” Klocke, 936 F.3d at 246 (citing Tex. Civ. Prac. & Rem. Code § 27.005(b)(1)-(3)). Further,

the court must determine “whether there is ‘clear and specific evidence’ that a plaintiff can meet

each element of his claim.” Id. (citing Tex. Civ. Prac. & Rem. Code § 27.005(c)). The burden

imposed by the TCPA is more than that imposed by Rule 12. Accordingly, because this state



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procedural law does not apply in federal court, the court denies without prejudice Defendant’s

Motion to Dismiss as it relates to the TCPA.

      G. Attorney’s Fees and Costs

         Mr. Garcia contends that upon dismissal of the Complaint, whether in whole or in part, he

should be awarded attorney’s fees and costs pursuant to the Lanham Act and the TCPA. Def.’s

Mot. to Dismiss 24. He contends that because Prime’s Lanham Act claim is devoid of merit, he is

entitled to attorney’s fees in successfully defending that claim. Further, he contends that the TCPA

mandates an award of attorney’s fees and costs to a successful movant. Id. As a result, he concludes

that he must be awarded attorney’s fees and costs incurred in successfully defending against the

state law claims. Id. at 25.

         Because the TCPA does not apply to this action and Prime’s Lanham Act claims are not

being dismissed, the court denies Defendant’s request for attorney’s fees.

IV.      Plaintiff’s Objection (Doc. 14)

         Prime contends that Mr. Garcia’s reliance on a video and documents beyond the Complaint

should be stricken. Pl.’s Resp. 19. It contends that Mr. Garcia’s reliance on an apology video

posted on TikTok, pleadings from other unrelated lawsuits, and a letter from Senator Chuck

Schumer should be stricken as outside the scope of the pleadings. Id. at 19 (citations omitted).

Moreover, Prime contends that despite the well-established law that a court may not consider

evidence outside the Complaint in a Rule 12(b)(6) motion, Mr. Garcia attempts to introduce these

additional items, none of which were attached to, referred to, or central to the Complaint. Id.

(citations omitted). Prime contends that the court should not take judicial notice because the Fifth

Circuit routinely rejects this approach at the pleading stage. Id. (citations omitted). Finally, it




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contends that the court should not take judicial notice of the documents that Defendant relied on

not contained in the Complaint. Id. at 20

        Defendant contends that Prime’s request to strike the motion to dismiss and appendix

should be denied. Def.’s Reply 9. He contends that it is without merit and that the motion pursuant

to Rule 12(f) is procedurally improper because this rule does not authorize the court to strike the

Motion or Appendix. Id. (citations omitted). Further, he contends that although the challenged

exhibits are not necessary for this court to dismiss the claims, it may consider them because they

are matters of public record. Id. (citing Cinel v. Connick, 15 F.3d 1338, 1343 n.6 (5th Cir. 1994)).

        Further, Defendant contends that Prime’s request for leave to amend the Complaint should

be denied. Id. at 10. He contends that Plaintiff’s informal request was buried in a footnote on the

last page of its Response, that it was insufficient, and that it should be denied. Id. He contends that

“Where a plaintiff merely ‘declares the sufficiency of her pleadings and does not offer a proposed

amended complaint in response to Defendants’ motion to dismiss,’ a request for leave to amend

should be denied.” Id. (citing Bailey v. Mansfield Indep. Sch. Dist., 425 F. Supp. 3d 696, 727 (N.D.

Tex. 2019) (Lindsay, J.); see also Local Rule 15.1(b) (“When a party files . . . a motion for leave

to file an amended pleading, the party must attach the proposed amended pleading to the motion

as an exhibit.”)).

        Plaintiff’s contentions are correct. A Rule 12(b)(6) motion typically cannot rely on

evidence outside the Complaint. George v. SI Grp., Inc., 36 F.4th 611, 619 (5th Cir. 2022) (citing

C&C Inv. Props., L.L.C. v. Trustmark Nat’l Bank, 838 F.3d 655, 660 (5th Cir. 2016)). In limited

circumstances, a “district court may rely on evidence outside the complaint, without converting

the Rule 12(b)(6) motion into a motion for summary judgment, if that evidence is . . . attached to

the . . . motion, referred to in the complaint, and central to the plaintiff’s claim; or . . . subject to



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judicial notice.” Id. (citations omitted). Accordingly, the court grants Plaintiff’s request and strikes

Defendant’s Appendix (Doc. 11).

V.      Conclusion

        For the reasons stated herein, the court grants in part and denies in part Defendant’s

Motion to Dismiss (Doc. 10). Claims two and five are dismissed without prejudice for failure to

satisfy the pleading requirements outlined in Rule 8 and 12(b)(6). The court orders Plaintiff to file

an Amended Complaint by 5 p.m. on April 21, 2025, that cures the deficiencies herein noted.

Failure to comply with this directive will result in the dismissal with prejudice of claims one and

two, pursuant to Federal Rule of Civil Procedure 12(b)(6), for failure to state a claim, or dismissal

without prejudice for failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).

        It is so ordered this 31st day of March, 2025.


                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




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